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                                 EXHIBIT 6
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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION



    MUTUAL OF OMAHA MORTGAGE,
    INC.,

                  Plaintiff,

    v.                                          Civil Action No. 22-CV-01660-TPB-JSS

    WATERSTONE MORTGAGE
    CORPORATION,

                 Defendant.




                       Expert Rebuttal Report of Candice L. Rosevear
                                       July 14, 2023




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            1.      I, Candice L. Rosevear, am a Principal at Global Economics Group, a Chicago-
    based firm that specializes in the application of economics, finance, statistics, and valuation
    principles to questions that arise in a variety of contexts, including, as here, in the context of
    litigation.
            2.      I have been asked by counsel for Plaintiffs to calculate the lost profits to Mutual
    of Omaha Mortgage (“MOM”) resulting from the closure of its Tampa and Daytona branches,
    and to express the amount in present value terms. It is my understanding that the lost profits and
    lost business associated with the closure of the Tampa and Daytona branches was a direct result
    of Defendants’ actions.1
            3.      I have also been asked to review the expert report of Steven S. Oscher, DBA
    (“Oscher Report”),2 in which he opines on three sets of damages based on “Plaintiffs’ Second
    Amended Responses and Objections to Defendant Waterstone Mortgage Corporation’s First Set
    of Interrogatories” (“Mutual’s Second Amended Responses”):3 First, regarding loans diverted
    from Mutual to Waterstone, he finds damages fall between $25.7 to $58.9 thousand;4 second, he
    opines that no valuation is possible regarding the closing of branch offices;5 finally, he states
    that alleged ill-gotten gains were actually Defendant expenses.6
            4.      In formulating my opinions set forth in this Report, I have relied upon the analysis
    described herein; my knowledge, experience, and formal training in economics and statistics;
    and the allegations and facts set forth in this lawsuit. The materials I have considered and relied
    upon in forming my opinions in this Report are summarized in Appendix A.


    1
      First Amended Complaint filed October 26, 2022, in Mutual of Omaha Mortgage, Inc. v. Waterstone
    Mortgage Corporation, civil action No. 22-CV-01660-TPB-JSS, ¶¶ 66-97.
    2
      Mutual of Omaha Mortgage, Inc. v. Waterstone Mortgage Corporation, Expert Report, June 5, 2023,
    Prepared by: Oscher Consulting, PLLC (the “Oscher Report”).
    3
      Oscher Report p. 4. The three categories are: 1) Lost revenue and profits from loans that were
    improperly diverted from Plaintiff to Defendant (Mutual’s Second Amended Responses p. 5); 2) Lost
    profit damages over the 18-month period beginning June 30, 2022 through December 31, 2023 based
    on prior financial performance of the two branches (Mutual’s Second Amended Responses pp. 27-28);
    and 3) Ill-gotten gains including compensation, paid by Defendants to Plaintiff’s prior employees in
    exchange for the alleged unlawful conduct that caused the closing of the two branches, in particular,
    two large bonuses paid of $750,000 (Mutual’s Second Amended Responses pp. 28-29).
    4
      Oscher Report pp. 6-9, 14.
    5
      Oscher Report pp. 9-12, 14-15.
    6
      Oscher Report pp. 13, 15.

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            5.      Global Economics Group is being compensated at an hourly rate of $500 per hour
    for my work on this matter and my compensation is in no way contingent on the opinions
    provided or the outcome of this case.
            6.      I reserve the right to amend this Report to reflect new information that becomes
    available to me, including from the discovery process and/or future rulings from the Court.


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            7.      I hold a Master of Business Administration, with a concentration in economics,
    econometrics and statistics, and finance, from the University of Chicago Booth School of
    Business, as well as a bachelor’s degree in business, with high distinction, from Indiana
    University’s Kelley School of Business in Indianapolis.
            8.      I have been employed as an analyst and economist for approximately 15 years. I
    have been employed at Global Economics Group for over nine years. Prior to that, I worked for
    approximately five years at Chicago Partners, an economics consulting firm. Over the course
    of my career, I have been responsible for conducting and managing economic, statistical, and
    empirical analyses in various areas, including wage and hour, labor discrimination, antitrust,
    securities, valuation, and general damages. I have worked extensively on statistical analyses in
    labor disputes involving hiring, promotion, and pay issues. I have significant expertise in the
    analysis of company payroll and timekeeping data, statistical sampling, financial modeling, the
    analysis of stock and bond price behavior, the estimation of economic damages, and the
    valuation of companies and financial instruments. I have been responsible for building,
    managing, and analyzing large and complex multi-dimensional databases on some of the
    highest profile cases, including AMD v. Intel.7
            9.      My experience includes work for plaintiffs, defendants, and an independent
    mediator. I have submitted expert reports and expert declarations to various federal and state
    courts. I have provided deposition testimony in federal courts and arbitration testimony in a
    state court matter. I have also worked on statistical, economic, and data projects outside the
    context of litigation.


    7
      Advanced Micro Devices, Inc. v. Intel Corporation, Case Nos. 1:05-cv-00441 and 1:05-md-01717, in
    the United States District Court for the District of Delaware.

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             10.   My qualifications are further detailed in my curriculum vitae, which is attached
    as Appendix B.


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             11.   In this report, I calculate the present value of lost profits at the MOM Tampa and
    Daytona branches using standard valuation models.
             12.   I begin with the historical loan sales at Tampa and Daytona. I then project what
    future sales at Tampa and Daytona would have been absent Defendants’ alleged misconduct,
    assuming the branches would have otherwise continued operating. I base my projections on (1)
    actual loan sales that occurred at the St. Louis and Maryland MOM branches through present
    day; and (2) national data from the Mortgage Bankers of Association, a data source also used in
    the Oscher Report. Then I use a reasonable growth rate to project future loan sales.
             13.   From these projections, I perform a well-known valuation technique known as a
    discounted cash flow (DCF) analysis to estimate the present value of lost profits. I explain and
    document each of the inputs I used in determining the appropriate discount rate.
             14.   Based on the various data sources used to estimate loan sales in Tampa and
    Daytona, and after applying conservative assumptions into the discounted cash flow model, I
    find that the present value of lost profits is approximately $28 million.


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             15.   Mutual of Omaha Mortgage (“MOM”) is a wholly-owned subsidiary of Mutual
    of Omaha Insurance Company, which is a “mutual” company owned by its insurance
    policyholders.8 The MOM subsidiary provides home financing, refinancing, and reverse
    mortgage products.9 The company was founded as a joint venture of residential mortgage lender
    PrimeLending10 and Mutual of Omaha Bank,11 created in 2016 to provide a range of home

    8
      https://www.mutualmortgage.com/about-us and https://www.mutualofomaha.com/about/company-
    profile/affiliates.
    9
      https://www.mutualofomaha.com/about/newsroom/article/mutual-of-omaha-mortgage-announces-
    strategic-acquisition-of-keller-mortgage.
    10
       PrimeLending is a PlainsCapital Company. PlainsCapital is a subsidiary of NYSE-listed Hilltop
    Holdings.
    11
       Mutual of Omaha Bank was a subsidiary of Mutual of Omaha Insurance Company at the time.

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    financing products and services.12 In 2020, CIT acquired Mutual of Omaha Bank, but Mutual of
    Omaha retained the bank’s mortgage business.13 In February 2023, MOM acquired the assets of
    Keller Mortgage LLC, which is a member of the Keller Williams real estate franchise.14 MOM
    is headquartered in San Diego, California,15 and operates branches across the United States
    including, as it relates to this matter, in Florida.16


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            16.     I have been asked by counsel for Plaintiffs to calculate the lost profits to MOM
    resulting from the closure of its Tampa and Daytona branches, and to express the amount in
    present value terms. According to my analysis, which I describe in detail in the subsections that
    follow, the present value of lost profits is approximately $28 million.
            17.     I calculate lost profits from loan sales for the Tampa and Daytona branches in
    three steps. First, I evaluate historical loan sales from MOM’s profit and loss statements. Second,
    I predict what loan sales would have been had the branches remained open. I constructed two
    separate prediction models, based upon the relationship between Tampa and Daytona’s actual
    loan sales and the following benchmarks: (1) actual loan sales from two other MOM branches
    that remained in operation after the closure of the Tampa and Daytona branches and (2) Mortgage
    Bankers Association (MBA) loan origination data for the United States. Third, I apply a
    discounted cash flow (DCF) analysis to calculate lost earnings before interest and taxes (EBIT)
    and free cash flows to the firm, and express lost profit in today’s dollars using my estimated
    discount rate for MOM.




    12
       https://www.businesswire.com/news/home/20160413006070/en/Mutual-of-Omaha-Bank-and-
    PrimeLending-Announce-Mortgage-Joint-Venture; https://www.mutualofomaha.com/about/company-
    profile.
    13
       https://www.mutualofomaha.com/about/newsroom/article/cit-to-acquire-mutual-of-omaha-bank;
    https://www.prnewswire.com/news-releases/cit-completes-acquisition-of-mutual-of-omaha-bank-
    300980325.html; https://www.housingwire.com/articles/49857-cit-buying-mutual-of-omaha-bank-but-
    not-its-mortgage-business/.
    14
       https://www.mutualofomaha.com/about/newsroom/article/mutual-of-omaha-mortgage-announces-
    strategic-acquisition-of-keller-mortgage
    15
       https://www.mutualmortgage.com/about-us/contact-us/#.
    16
       https://www.mutualmortgage.com/about-us/loan-officer/.

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            18.     First, I evaluate historical loan sales at the Tampa and Daytona branches.
    Exhibit 1 shows monthly loan sales for Tampa and Daytona from 2019 to 2022.17 As the chart
    shows, beginning in April 2022, loan sales at each location began to decline, and by mid-2022
    loan sales fell to zero as the branches closed. The data aligns with allegations in the Complaint
    stating that loan officers began to leave in April 2022, and that the branches closed as a result a
    few months later.18

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            19.     Second, I estimate loan sales for the Tampa and Daytona branches from the
    beginning of the alleged misconduct and into the future. The projections from my analysis
    provide an estimate of what loan sales would have been if the purported misconduct by
    Waterstone had not occurred and the branches had persisted in their operations. In other words,
    it provides an estimate of loan sales but-for the alleged misconduct by Waterstone.
            20.     I conduct an extrapolation analysis to extend loan sales data from May 2022
    through the year 2031. Extrapolation is a statistical tool commonly used by economists and
    statisticians to estimate a complete data series in the absence of comprehensive data.19




    17
       Total Loan Volume is sourced from Mutual Of Omaha Mortgage Profit & Loss Statements, which is
    reported monthly for Tampa and Daytona (MOM-0010942--MOM-0011047). The Tampa profit and
    loss statements include the Paramus branch.
    18
       Complaint ¶¶ 18-65.
    19
       I used a common extrapolation method based on a percent change approach to estimate future loan
    sales. I then applied the estimations to extend the series as described above. This is a common
    extrapolation method, used to estimate a complete data series in the absence of comprehensive data. For
    example, Armstrong (p. 22) states “By examining analogous situations, one may be able to predict for a
    new situation.” Armstrong, Jon S. “Role Playing: A Method to Forecast Decisions” in Principles of
    Forecasting: A Handbook for Researchers and Practitioners (Ed. Jon S. Armstrong). Boston, MA:
    Kluwer Academic, 2001; “Extrapolation can also be used for cross-sectional data. The assumption is
    that the behavior of some actors at a given time can be used to extrapolate the behavior of others. The
    analyst should find base rates for similar populations.” Armstrong, Jon S. “Extrapolation for Time-
    Series and Cross-Sectional Data” in Principles of Forecasting: A Handbook for Researchers and
    Practitioners (Ed. Jon S. Armstrong). Boston, MA: Kluwer Academic, 2001, p. 218; “Plaintiffs’
    experiences in other locations is also a commonly accepted method of calculating lost profits.” Lloyd,
    Terry and Rashell Young, “Calculating Lost Profits Damages to New Businesses,” Chapter 6 in Roman
    L. Weil, Michael J. Wagner, and Peter J. Frank, Litigation Services Handbook: The Role of the
    Financial Expert, 3rd ed. John Wiley & Sons, New York, 2001.

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           21.        I rely on two distinct data sources to inform my extrapolation models: (1)
    monthly loan sales from two other MOM branches, Maryland and St. Louis (“Peer-Based
    Model”)20 and (2) Mortgage Bankers Association (MBA) data (“MBA-Based Model”), which
    provides quarterly loan originations for the United States.21 This approach allows for a
    comprehensive examination of loan sales across multiple sources.

                 i.       Peer-Based Model
           22.        Exhibit 2 shows actual monthly loan sales for Tampa, Daytona, Maryland, and
    St. Louis from January 2019 to May 2023.22 Recall, the Tampa and Daytona Branches began to
    close in April 2022, while the other two branches remained in operation. Thus, the Maryland
    and St. Louis branches provide insight into MOM loan sales for the one-year window, from
    April 2022 to May 2023.
           23.        I use the volume weighted average percentage change in loan sales for
    Maryland and St. Louis (“Peer Composite”) in each month to calculate predicted loan sales
    through May 2023. For example, in May 2022, the Peer Composite declined by 19%. Thus,
    starting from Tampa and Daytona’s last month of full loan sales, April 2022, I applied the 19%
    decline to that figure to arrive at predicted loan sales for May 2022, which is $13.56 million for
    Tampa and $10.60 million for Daytona. Then for June 2022, the composite fell 22%, and in a
    similar fashion, I apply that percentage change to the May 2022 predictions to arrive at June
    2022 predictions of $10.60 million for Tampa and $8.28 million for Daytona. I did this for
    every month where I have data for Maryland and St. Louis, which is through May 2023, to




    20
       I understand that MOM chose to provide me with data for these two branches due to their structural
    and data coverage resemblances to Tampa and Daytona. All four branches operate under the “P&L”
    model, meaning that MOM charges them a portion of loan sales and they operate independently in other
    aspects. Moreover, the data coverage is consistent for all the branches; they each demonstrated
    productivity within the 2019-2022 period, a prerequisite for the extrapolation modeling.
    21
       “MBA Mortgage Finance Forecasts,” Mortgage Bankers Association (April 2, 2020; April 22, 2021;
    April 13, 2022; and May 19, 2023) (https://www.mba.org/news-and-research/forecasts-and-
    commentary/mortgage-finance-forecast-archives). The Oscher Report also utilizes and relies on this
    data set (see, Oscher Report footnote 12: “MBA Mortgage Finance Forecast dated May 19, 2023.
    https://www.mba.org/docs/default-source/research-andforecasts/
    forecasts/2023/mortgage-finance-forecast-may-2023.pdf?sfvrsn=4bf1d1a7_1”).
    22
       Mutual Of Omaha Mortgage Profit & Loss Statements (MOM-0010942 to MOM-0011047);
    Maryland Group Fundings 2019 thru May 2023.xlsx; St Louis Group Fundings 2019 thru May
    2023.xlsx.

                                                     8
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    capture monthly fluctuations in loan sales. Exhibit 3 shows the results from my Peer-Based
    projection model.
           24.     From June 2023 forward I apply 2.6% per annum interest to calculate predicted
    loan sales through the end of 2031.23 To test the robustness of my results, I also conducted a
    similar projection model based on quarterly MBA loan sales data.

                 ii.    MBA-Based Model
           25.     Exhibit 4 shows actual quarterly loan sales for Tampa and Daytona against
    MBA quarterly loan originations for the United States.24 The MBA data reflects actual loan
    originations through Q1 2023 and predicted loan originations from Q2 2023 to Q4 2024. The
    data is plotted on two separate axes (MOM branch loan sales is expressed in millions and
    referenced to the lefthand axis; MBA data is expressed in billions and referenced to the
    righthand axis).25 As the chart shows, the MOM and MBA data follow a similar general pattern
    over the 2019 to mid-2022 period.
           26.     Like the method described above, I use the MBA data in each quarter to
    calculate predicted loan sales through Q4 2024 for Tampa and Daytona. For example, in Q2
    2022, the MBA loan sales declined by 1.6%. Thus, starting from Tampa and Daytona’s last
    quarter of full loan sales, Q1 2022, I apply the MBA 1.6% decline to those figures to arrive at
    predicted loan sales for Q2 2022, which is $53.32 million for Tampa and $38.39 million for
    Daytona. In Q3 2022, the MBA fell another 29.2%, so I apply that percentage change to the Q2
    2022 predictions to arrive at Q3 2022 predictions of $37.75 million for Tampa and $27.18
    million for Daytona. I did this for every month where I have MBA data, which is through Q4


    23
       I apply a rate of 2.6% per year as an estimate of inflation over the estimation window (2022-2031)
    based on the average (mean) consumer price index changes over the past 10 years, June 2018-May
    2023 (available at https://fred.stlouisfed.org/graph/?g=ANNk.; https://www.minneapolisfed.org/about-
    us/monetary-policy/inflation-calculator/consumer-price-index-1913-;). According to the Bureau of
    Labor Statistics, the CPI-U is a measure of the average change over time in the prices paid by urban
    consumers for a market basket of consumer goods and services (https://www.bls.gov/cpi/questions-and-
    answers.htm).
    24
       “MBA Mortgage Finance Forecasts,” Mortgage Bankers Association (April 2, 2020; April 22, 2021;
    April 13, 2022; and May 19, 2023) (https://www.mba.org/news-and-research/forecasts-and-
    commentary/mortgage-finance-forecast-archives). The MBA-Based Model is conducted on a quarterly
    basis since MBA data is quarterly, which differs from the monthly Peer-Based Model. I aggregated the
    monthly MOM loan sales data to arrive at quarterly loan sales figures.
    25
       The difference in scale is due to the fact that MBA data covers the U.S. as a whole, whereas the
    MOM data cover the Florida regional markets served by the Tampa and Daytona branches.

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    2024, to capture quarterly fluctuations in loan sales. Exhibit 5 shows the results from my
    MBA-Based projection model.
            27.     From that quarter forward, I apply 2.6% per annum interest to calculate
    predicted loan sales through the end of 2031.26
            28.     Exhibit 6 shows actual and predicted loan sales under both models, annually from
    2019 through 2031. Notably, the two distinct models predict similar levels of loan sales in each
    year, indicating robustness in my methodology.27 The projected loan sales are foundational
    inputs to my discounted cash flow (“DCF”) analysis, which I describe next.

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            29.     Third, I prepared a DCF model to determine the present value of the lost profits
    to MOM using the loan sales projections described above. To derive the income lost by MOM
    due to the closure of the Tampa and Daytona branches, I applied a corporate profit
    apportionment factor to each branch’s projected loan sales over the damages timeframe.28 The
    product of these figures is each branch’s lost earnings before interest and taxes (EBIT). From
    these EBIT figures, I deducted 26.5% in estimated taxes based on the 21.0% Federal corporate
    income tax rate and the 5.5% Florida corporate income tax rate as of 2023 to determine the lost
    free cash flow to the firm from each branch over the damages timeframe.29 Building on the



    26
       As explained in the earlier footnote, 2.6% is the average (mean) of CPI-U changes over the past 10
    years, June 2018-May 2023 (https://fred.stlouisfed.org/graph/?g=ANNk).
    27
       The year 2022 includes actual loan sales through June 2023 plus the incremental loan sales predicted
    by my models.
    28
       The model is based on actual and historical corporate profit margins for the two branches (see
    “Corporate Margin 2019 – 2022,” YSP -Corp Margin Calc 1728-1734 - 2019 Thru 2022 - v2.xlsx). For
    2022, the model relies on the 2022 actual corporate margin of 75.3bps for Tampa and 89bps for
    Daytona; for 2023 and after, it relies on the historical average over the 2019-2022 timeframe, which is
    77.9bps for Tampa and 91.3bps for Daytona. I understand that MOM receives corporate margins “off
    the top” – in other words, as a percentage of branch loan sales – and that the branch receives the
    remainder of the income to cover expenses including overhead and loan officer commissions. I further
    understand that each branch is managed independently by the branch manager.
    29
       Cash flow to the firm is defined as each branch’s after-tax earnings before interest, plus depreciation
    and amortization, less capital expenditures, less additional working capital requirements. See, for
    example, Hitchner, James R. “Financial Valuation: Applications and Models,” 3rd ed. (Ed. James R.
    Hitchner). Hoboken, NJ: John Wiley & Sons, Inc., 2011, pp. 132-133. Given MOM’s operation as a
    mortgage lender, it is assumed that depreciation and capital expenditures offset each other in the long-
    term, while no additional working capital beyond what the firm was already generating would be
    required to fulfill the projected loan sales production.

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    results of the Peer-Based projections, Exhibit 7A shows the DCF model for Tampa and
    Exhibit 7B shows the DCF model for Daytona.30
            30.        Next, I calculate the present value of each branch’s lost free cash flow each year
    based on the weighted average cost of capital (WACC) of 8.38%, as described in the next
    section. The present value of the total cash flows from June 2022 through December 2031 is
    $7.30 million for the Tampa branch and $6.79 million for the Daytona branch, or $14.09
    million total.31
            31.        Finally, I calculate the terminal value of each branch’s cash flows beyond 2031
    using the Gordon Growth formula.32 As a conservative measure, I apply a terminal growth value
    of 0% to estimate the Terminal Value. The terminal growth rate is intended to estimate the
    perpetual growth of the company, and the lost profits, beyond the 10-year projection window,
    assuming no change in behavior regarding branch operations. The terminal value is then adjusted
    to present value using the WACC rate referenced above and outlined below, resulting in a present
    value of the terminal value is $7.29 million for Tampa and $6.67 million for Daytona, or $13.97
    million in total.33
            32.        The total present value in lost profits on loan sales under this model, including
    the 2022-2031 timeframe and the terminal value, is $14.59 million for Tampa and $13.46 million
    for Daytona, or $28.05 million combined.34, 35


    30
       Similarly, starting with the results of the MBA-Based projections, Exhibit 8A and Exhibit 8B show
    the DCF models for Tampa and Daytona, respectively.
    31
       Under the MBA-Based model, the present value of the total cash flows from June 2022 through
    December 2031 is $7.48 million for the Tampa branch and $6.41 million for the Daytona branch, or
    $13.89 million total.
    32
       The Gordon Growth Model is a widely accepted methodology for determining the terminal value in a
    discounted cash flow analysis. It involves dividing the subject cash flow for the terminal period (e.g.,
    overpayment estimate) by the differential between the assumed discount rate and a long-term growth
    rate. See, for example, Hitchner, James R. “Financial Valuation: Applications and Models,” 3rd ed. (Ed.
    James R. Hitchner). Hoboken, NJ: John Wiley & Sons, Inc., 2011, pp. 139-140, 151-152.
    33
       Under the MBA-Based model, the present value of the terminal value is $7.60 million for the Tampa
    branch and $6.41 million for the Daytona branch, or $14.00 million total (Numbers are rounded to two
    decimal places, which accounts for any apparent discrepancies when summing branch figures).
    34
       Under the MBA-Based model, the total present value in lost profits on loan sales is $15.08 million for
    the Tampa branch and $12.82 million for the Daytona branch, or $27.90 million total.
    35
       The model is flexible to other damages timeframes. It allows for the calculation of damages through
    any year up to 2031 using the results from Exhibits 7A-8B. For example, the peer based-model suggests
    damages from lost profits over the 2022-2026 timeframe, is $3.88 million for the Tampa branch and
    $3.66 million for the Daytona branch, or $7.54 million in total. Adding the “Present Value ("PV") of
    Free Cash Flows to Firm” row from Exhibit 7A from 2022 to 2026 results in $3.88 million for Tampa

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            33.     As stated, with respect to MOM’s lost profits that would have been earned after
    the date of this report, such amounts would need to be discounted to present value at a rate
    reflective of the returns required by MOM stakeholders (i.e., costs of capital).36 Typically, costs
    of capital may be determined by examining the trading data for the subject company’s debt and
    equity securities. However, in this case, MOM is a wholly-owned subsidiary of Mutual of Omaha
    Insurance Company, which in turn is a “mutual” company owned by its insurance policyholders.
    Consequently, company securities are not traded on public securities exchanges.
            34.     Thus, to determine the appropriate rate at which to discount MOM’s future lost
    profits, I examine sources that are frequently employed to determine costs of capital for other
    privately-held corporations. Specifically, to determine MOM’s cost of equity—the rate of return
    required by its shareholders—I utilize both the Build-Up method and the Capital Asset Pricing
    Model (CAPM).
            35.     Under the Build-Up method, a company’s cost of equity is determined using the
    following formula:


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                    whereܴ௙ ൌthe risk-free rate and‫ ܴܲܧ‬ൌ the equity risk premium.


            36.     The risk-free rate represents the rate of return on investments that are considered
    to have little to no possibility of default. Typically, yields on long-term U.S. Treasury bonds are
    used as a proxy for the risk-free rate. As of June 15, 2023, the yield on 20-year Treasury bonds
    was 4.02%.
            37.     In order to invest in riskier assets, such as equity in an operating company,
    investors require a premium to the return offered by risk-free assets as compensation for



    ($0.38 + $0.95 + $0.90 + $0.85 + $0.80) and using the same row from Exhibit 7B the sum is $3.66
    million for Daytona ($0.46 + $0.87 + $0.82 + $0.78 + $0.74).
    36
       MOM stakeholders include investors holding debt and equity securities issued by the company, both
    of which generate returns to MOM investors (e.g., interest payments, dividends, share price
    appreciation). The “cost of debt” represents the rate of return demanded by the subject company’s debt
    holders while the “cost of equity” reflects the rate of return required by investors in the subject
    company’s equity shares (i.e., common stock).

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    incurring such additional risk. These incremental risk components have been estimated in
    empirical studies over the years. One such source for these components is the Kroll Cost of
    Capital Navigator, which compiles historical securities returns and other cost of capital metrics.
    Based on empirical market data between 1926 and 2022, the arithmetic average supply-side
    equity risk premium was 6.35%.
           38.     While the equity risk premium represents the additional return demanded by
    equity investors in general, risks vary from one industry to the next. Consequently, the Build-Up
    method includes an industry risk premium (or discount) that measures the overall riskiness of an
    industry relative to the overall equity market. If investors in companies operating in a certain
    industry require a higher return than the overall market, then the industry risk adjustment will be
    positive. Conversely, if investors in a particular industry require a lower return relative to the
    general equity market, the adjustment will be negative. In the case of MOM, the relevant industry
    is represented by Global Industry Classification Standard (GICS) code 40201050, or
    “Commercial & Residential Mortgage Finance.” Market data for this industry code generated an
    industry risk premium of 2.48%.
           39.     Empirical data have also shown that investors generally consider smaller
    companies to be riskier than larger companies, all other factors equal. A size premium reflects
    the additional return that an investor would demand of a smaller company over the industry’s
    cost of equity due to additional riskiness of the cash flows. In general, smaller companies tend
    to be associated with more cash flow volatility and related risks.
           40.     More specifically, data from the Center for Research in Securities Prices
    (“CRSP”) at the University of Chicago has been analyzed to study how investor returns vary by
    company size as measured by market capitalization. According to these data, the smallest 10%
    of companies exhibited a size premium of 4.83% through the end of 2022.
           41.     Exhibit 9 shows the sum of the four components of the Build-Up method which
    results in a cost of equity estimate of 17.68%.
           42.     The second method for estimating cost of equity—CAPM—utilizes most of the
    same components of the Build-Up method. The formula is as follows:


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           43.     However, rather than relying on an estimate for the industry risk premium, the
    subject company’s equity beta (or ȕ) is estimated. Beta is a financial metric that measures risk
    relative to the overall market (typically represented by the S&P 500 index) by looking at how
    share prices change relative to the index. As stated, MOM’s equity is privately-held and as a
    result its beta cannot be measured directly. However, guideline publicly-traded companies may
    be used to estimate an appropriate equity beta estimate.
           44.     To identify a set of publicly-traded guideline companies, I use S&P Capital IQ
    to search for U.S. companies with actively-traded common stock, primarily operating within the
    Standard Industrial Classification (“SIC”) code 6160 (“Mortgage Bankers and Brokers”) or
    GICS code 40201050 (“Commercial & Residential Mortgage Finance”). From this list of
    companies, I eliminated those that lacked financial data, had filed for bankruptcy, or for which
    mortgage banking operations was not a primary focus. The result of this process was a list of
    seven guideline companies for which an average beta of 1.15 was determined, as shown in
    Exhibit 10.
           45.     Exhibit 11 shows the application of the beta estimate to the CAPM formula
    which results in a total cost of equity estimate of 16.15%.
           46.     The primary difference between the Build-Up and CAPM methods is that the
    former relies on industry-wide estimates of risk while the latter is based on stock price volatility
    measures derived from a specific set of guideline companies. In this case, I have determined that
    both measures provide equally reliable indications of MOM’s cost of equity and thus concluded
    that a reasonable estimate of the company’s cost of equity would be at the midpoint of the range,
    or 16.92%.
           47.     With respect to MOM’s cost of debt, the “Commercial & Residential Mortgage
    Finance” industry composite cost of debt for early 2023 was 8.9%, as shown in Exhibit 12.
    While I could not locate any MOM debt instruments with publicly-available yield data, I
    identified three surplus notes issued by MOM’s parent company, Mutual of Omaha Insurance
    Company (“Mutual”). Surplus notes are unsecured bonds issued by insurance companies that are
    subordinated to all present and future policyholder claims, as well as most if not all other creditor
    claims. As a result of their subordinated nature, surplus notes are typically considered to be
    equity-like investments and are generally reported as part of the insurance company’s equity




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    capital in its financial statements.37 Exhibit 12 shows that as of June 15, 2023, the yield to
    maturity for these three long-term notes ranged from 6.2% to 8.1%. Averaging these metrics
    results in a cost of debt estimate of 7.52% for Mutual as of mid-2023.
              48.     Exhibit 13 shows that weighing each cost of capital metric by Mutual’s capital
    structure results in a weighted average cost of capital of 8.38%.


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              49.     In this report, I have used multiple data sources to estimate loan sales in Tampa
    and Daytona. One source was based on the pattern of loan sales from other MOM branches, and
    the other is a trusted source of national data. I applied a reasonable growth rate to future loan
    sales. I used an extremely conservative estimate of the terminal growth rate. Furthermore, I used
    multiple methodologies to estimate the cost of equity, a key input into finding the appropriate
    discount rate.
              50.     Under these assumptions, I estimate between $27.90 million and $28.05 million
    in lost profits stemming from the closing of the MOM Tampa and Daytona branches.
    Approximately half of that amount is from profits lost during the 2022 to 2031 timeframe, and
    half is from the terminal value calculation as described above. Table 1 summarizes the results
    from my models.




    37
         “Evaluating U.S. Surplus Notes,” A.M. Best Methodology (April 2, 2014).

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                           Table 1: Present Value of Lost Profits, in Millions

                                                           2022 to   Terminal
                    Peer-Based Model                        2031      Value        Total
                      Tampa                                 $7.30     $7.29       $14.59
                      Daytona                               $6.79      $6.67      $13.46
                                                           $14.09     $13.97      $28.05
                    MBA-Based Model
                     Tampa                                 $7.48       $7.60      $15.08
                     Daytona                                $6.41       $6.41     $12.82
                                                           $13.89      $14.00     $27.90

                    Note: the 2022 present value is based off the difference of projected
                    loan sales and actual loan sales.




    I declare under penalty of perjury of the laws of the United States that the foregoing is true and
    correct.


           Executed this 14th day of July, 2023, in Chicago, Illinois.




           ____________________________________
           Candice L. Rosevear




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Case 8:22-cv-01660-AEP                    Document 84-6            Filed 07/26/23             Page 28 of 48 PageID 1275




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       Case 8:22-cv-01660-AEP                                    Document 84-6                         Filed 07/26/23                       Page 29 of 48 PageID 1276




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Case 8:22-cv-01660-AEP                    Document 84-6            Filed 07/26/23             Page 30 of 48 PageID 1277




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        / &JIJ6AD;(B6=6&DGI<6<:  -6M3 5 5  4"C)GD8:HH E9; 
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             E:G8:CIH:CH>I>K>IN MAHM E9; 
      x PDGEDG6I:&6G<>C O Q1,) DGE&6G<>C6A8    -=GJ  
         K MAHM 
      x P>C6C8>6A,I6I:B:CIHQ&(&>C6C8>6A,I6I:B:CIH    DGL6G9(CAN MAHM 
      x P>C6C8>6A,I6I:B:CIHQ&(&>C6C8>6A,I6I:B:CIH  &6N  DGL6G9
         (CAN MAHM 
      x P!D7D@:C-6BE66C96NIDC6,JBB6GNQ!D7D@:C-6BE66C96NIDC6 
            MAHM 
      x R,JBB6GND;DGEDG6I:6GC>C<HDCIG>7JI>DC;GDB-6BE66C96NIDC6G6C8=:HQ
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      x P-6BE66C96NIDC66GC>C<H,JBB6GNQ-6BE66C96NIDC66GC>C<H,JBB6GN MAHM 
      x ,I%DJ>H GDJEJC9>C<H I=GJ&6N  MAHM 
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    x >H8JHH>DCL>I=8JHIDB:GHJEEDGIG:<6G9>C<G:<>DC HE:8>;>896I6#JC:  
    x &DGI<6<:6C@:GHHHD8>6I>DCDG:86HIH 
    x &JIJ6AD;(B6=6&DGI<6<:"C8 
    x &JIJ6AD;(B6=6,JGEAJHDC9H 
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       ! Q=IIEH LLL ;:9:G6AG:H:GK: <DK G:A:6H:H =  
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       =IIEH LLL ;6CC>:B6: 8DB B:9>6   9>HEA6N 
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       "I:BH>C. , >INK:G6<:)".,%Q=IIEH ;G:9 HIADJ>H;:9 DG< <G6E= <''@ 
    x G:99>:&68P *8DCDB>86C9!DJH>C<&6G@:I(JIADD@Q
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       =IIEH LLL BDD9NH 8DB H>I:H EGD9J8IH )GD9J8III68=B:CIH 6I676H:H DJCIN
       DG:86HI GD8=JG: E9; 
    x &DGI<6<:6C@:GHHHD8>6I>DCP&&DGI<6<:>C6C8:DG:86HIG8=>K:HQEG>A
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       =IIEH 89C BJIJ6AD;DB6=6 8DB BJIJ6AD;DB6=6 9D8JB:CIH E9;H 67DJI 8DBE6CN5>CK:HID
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    x &JIJ6AD;(B6=6"CHJG6C8:DBE6CNP,I6IJIDGN>C6C8>6A,I6I:B:CIHQ    
            =IIEH 89C BJIJ6AD;DB6=6 8DB 9D8JB:CIH BJIJ6AD;DB6=6 E9; BJIJ6A H6E  
               G:EDGI E9; 
            =IIEH 89C BJIJ6AD;DB6=6 8DB 9D8JB:CIH BJIJ6AD;DB6=6 E9; BJIJ6A H6E  
               G:EDGI E9; 
            =IIEH 89C BJIJ6AD;DB6=6 8DB BJIJ6AD;DB6=6 9D8JB:CIH E9;H 67DJI BJIJ6A
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     x   )=>A65:9&DGI<6<:(G><>C6I>DC6I6!>HIDG>86AG:<>DC HE:8>;>8 8HK 
     x   -6MDJC96I>DCP,I6I:DGEDG6I:"C8DB:-6M+6I:H6C9G68@:IH;DG Q#6CJ6GN
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        =IIEH LLL 6B7:HI 8DB 6B7K G6I>C<B:I=D9DAD<N DE:CE9; 6HEMJ78G G>  
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          =IIEH LLL B>CC:6EDA>H;:9 DG< 67DJI JH BDC:I6GN EDA>8N >C;A6I>DC 86A8JA6IDG 8DCHJB:G
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          DB6=6 76C@ 7JI CDI >IH BDGI<6<: 7JH>C:HH 
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          =IIEH LLL BJIJ6AD;DB6=6 8DB 67DJI C:LHGDDB 6GI>8A: 8>I ID 68FJ>G: BJIJ6A D;
          DB6=6 76C@ 
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          EGD;>A: 6;;>A>6I:H 
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     x   &JIJ6AD;(B6=6&DGI<6<:PDCI68I.HQ=IIEH LLL BJIJ6ABDGI<6<: 8DB 67DJI
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          =IIEH LLL BJIJ6ABDGI<6<: 8DB 67DJI JH AD6C D;;>8:G 
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                                     Curriculum Vitae

                              CANDICE L. ROSEVEAR

                                         July 2023

   Global Economics Group
   140 S. Dearborn, Suite 1000
   Chicago, IL 60603
   (312) 622-6757
   crosevear@globaleconomicsgroup.com


   EMPLOYMENT

         Global Economics Group, LLC

                Principal (2021-Present)
                Vice President (2016-2021)
                Director (2012-2016)

         Chicago Partners, LLC (presently Navigant Economics)

                Managing Consultant (2008-2011)
                Associate (2007-2008)
                Research Analyst (2006-2007)


   EDUCATION

         M.B.A.     University of Chicago Booth School of Business, 2012
                    Master of Business Administration with a concentration in Economics,
                    Finance, Entrepreneurship, and Econometrics and Statistics

                    Teaching Assistant for Microeconomics in the M.B.A. Program

         B.S.       Indiana University Kelley School of Business (Indianapolis), 2006
                    Bachelor of Science, magna cum laude, in Business
                    Minor in Philosophy

                    Honors thesis: The Legal and Ethical Implications of Radio Frequency
                    Identification (RFID) Technology

                    Beijing Foreign Studies University - Beijing, China, 2005
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   SELECT RESEARCH AND SPEAKING ENGAGEMENTS

      Author, “Knight Diversity of Asset Managers Research Series: Philanthropy, A Study to
      Assess the Representation of Firms Owned by Women and Racial or Ethnic Minorities
      Among Investment Firms Used by the Country’s Top 55 Charitable Foundations,” The
      John S. and James L. Knight Foundation, December 2022.

      Author, “Knight Diversity of Asset Managers Research Series: Higher Education,
      Interim Release,” The John S. and James L. Knight Foundation and New York
      University’s Center for Business and Human Rights, June 2022.

      Author, “Knight Diversity of Asset Managers Research Series: Ownership and Teams
      Diversity Metrics,” The John S. and James L. Knight Foundation, April 2022.

      Author, “Knight Diversity of Asset Managers Research Series: Philanthropy, A Study to
      Assess the Representation of Firms Owned by Women and Racial or Ethnic Minorities
      Among Investment Firms Used by the Country’s Top 55 Charitable Foundations,” The
      John S. and James L. Knight Foundation, September 2021.

      Presenter, “Diversity, Equity, and Inclusion (DEI): How to Measure Workforce
      Diversity and Establish DEI Goals,” Franczek, June 22, 2021.

      Invited Panelist, “Loss Causation in a Bear Market: The Economists’ Perspective,” The
      Chicago Bar Association, June 30, 2020.

      Author, “Diversity of Asset Managers in Philanthropy: A Study to Assess the
      Representation of Women and Racial or Ethnic Minorities Among Investment Firms
      Used by the Country’s Top 50 Charitable Foundations,” The John S. and James L.
      Knight Foundation, February 2020.

      Invited Panelist, “Industry Leaders in Analytics,” The University of Chicago Booth
      School of Business, November 9, 2019.

      Co-Author, “The Digital Revolution: Bitcoin and the Future of Digital Assets,”
      Blockchain, 2017.

      Co-Author, “The Power of Parks: An Assessment of Chicago Parks’ Economic Impact,”
      The Chicago Park District, July 2014.

      Contributing Researcher, “Radio Frequency Identification and Privacy Law: An
      Integrative Approach,” 46 American Business Law Journal 1, Manning Magid, J.,
      Tatikonda, M. V., and Cochran, P. L., 2009.
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   TESTIMONIAL EXPERIENCE AND EXPERT REPORTS

      Arbitration Testimony of Candice L. Rosevear, March 2, 2022, in the Matter of Lindsey
      Rumer et al v. Richard Walker Restaurants, LLC, et al, The Superior Court for the State
      of California for the County of San Diego. Case No. 37-2020-00015608-CU-\OJT-CTL.

      Deposition of Candice L. Rosevear, January 4, 2022, in the Matter of Jeremy Sorenson
      et al v. Delta Air Lines, Inc., The United States District Court for the Northern District
      of Georgia Atlanta Division. Case No. 1:17-cv-00541-ELR.

      Expert Rebuttal Report of Candice L. Rosevear, December 8, 2021, in the Matter of
      Jeremy Sorenson et al v. Delta Air Lines, Inc., The United States District Court for the
      Northern District of Georgia Atlanta Division. Case No. 1:17-cv-00541-ELR.

      Expert Rebuttal Report of Candice L. Rosevear, November 4, 2021, in the Matter of
      Marco Arellano et al v. Access Business Group LLC., The Superior Court for the State
      of California for the County of Los Angeles. Case No. 19STCV33430.

      Declaration of Candice L. Rosevear, November 3, 2021, in the Matter of Marco
      Arellano et al v. Access Business Group LLC., The Superior Court for the State of
      California for the County of Los Angeles. Case No. 19STCV33430.

      Expert Report of Candice L. Rosevear, October 8, 2021, in the Matter of Jeremy
      Sorenson et al v. Delta Air Lines, Inc., The United States District Court for the Northern
      District of Georgia Atlanta Division. Case No. 1:17-cv-00541-ELR.

      Declaration of Candice L. Rosevear, May 26, 2021, in the Matter of Marco Arellano et
      al v. Access Business Group LLC., The Superior Court for the State of California for the
      County of Los Angeles. Case No. 19STCV33430.

      Deposition of Candice L. Rosevear, May 14, 2021, in the Matter of James Zollicoffer
      and Norman Green et al v. Gold Standard Baking, Inc. and Personnel Staffing Group,
      LLC., The United States District Court for the Northern District of Illinois Eastern
      Division. Case No. 13-C-1524.

      Expert Rebuttal Report of Candice L. Rosevear, April 21, 2021, in the Matter of James
      Zollicoffer and Norman Green et al v. Gold Standard Baking, Inc. and Personnel
      Staffing Group, LLC., The United States District Court for the Northern District of
      Illinois Eastern Division. Case No. 13-C-1524.

      Declaration of Candice L. Rosevear, March 11, 2021, in the Matter of Bryant Patton et
      al v. Midwest Construction Services, Inc., The United States District Court for the
      Central District of California. Case No. 2:19-cv-02580-JFW-MAA.
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      Declaration of Candice L. Rosevear, October 27, 2020, in the Matter of Windham et al
      and Marquez et al v. Golden Queen Mining Company, LLC., The Superior Court of the
      State of California for the County of Kern Metropolitan Division. Case No. BCV-18-
      102304/ BCV-19-102651.

      Declaration of Candice L. Rosevear, October 20, 2020, in the Matter of Windham et al
      and Marquez et al v. Golden Queen Mining Company, LLC., The Superior Court of the
      State of California for the County of Kern Metropolitan Division. Case No. BCV-18-
      102304/ BCV-19-102651.

      Declaration of Candice L. Rosevear, May 8, 2020, in the Matter of Claudia Barraza et al
      v. The Ritz-Carlton Hotel Company, The Superior Court of the State of California for
      the County of Orange. JCCP Case No. 4652.

      Expert Report of Candice L. Rosevear, October 29, 2019, in the Matter of Laura Cota
      Olivas et al v. Peoplease, LLC et al., The Superior Court of the State of California for
      the County of Los Angeles. Case No. BC605055.

      Expert Report of Candice L. Rosevear, June 14, 2019, in the Matter of David Kohl v.
      Trans High Corporation, The Supreme Court of the State of New York. Index No.
      655200/2016.

      Expert Report of Candice L. Rosevear, June 12, 2019, in the Matter of Marc Kramer et
      al v. American Bank and Trust Company et al., The United States District Court for the
      Northern District of Illinois Eastern Division. Case No. 11-CV-08758.

      Expert Report of Candice L. Rosevear, August 29, 2018, in the Matter of Gerardo
      Ortega et al v. J.B. Hunt Transport, Inc., The United States District Court for the Central
      District of California Western Division. Case No. 2:07-CV-08336-RGK-AFM.

      Expert Report of Candice L. Rosevear, August 15, 2018, in the Matter of Gerardo
      Ortega et al v. J.B. Hunt Transport, Inc., The United States District Court for the Central
      District of California Western Division. Case No. 2:07-CV-08336-RGK-AFM.

      Expert Report of Brendan P. Burke and Candice L. Rosevear, August 3, 2018, in the
      Matter of Gerardo Ortega et al v. J.B. Hunt Transport, Inc., The United States District
      Court for the Central District of California Western Division. Case No. 2:07-CV-08336-
      FMC-JCx.

      Declaration of Brendan P. Burke and Candice L. Rosevear, July 9, 2018, in the Matter of
      Gerardo Ortega et al v. J.B. Hunt Transport, Inc., The United States District Court for
      the Central District of California Western Division. Case No. 2:07-CV-08336-FMC-
      JCx.
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   REPRESENTATIVE ECONOMIC CONSULTING EXPERIENCE

      Labor and Discrimination

          Employment discrimination matters, including disparate impact and disparate
           treatment class action litigation, and various wage and hour matters, including
           FLSA class actions and PAGA representative actions.

          Expertise includes:
                 Disparate impact analysis.
                 Logistic and multivariate linear regression models to quantify the effects
                  of candidate and employee characteristics on hiring, promotion, salary
                  growth, and reductions in force.
                 Analysis of various human resource data, timecard, building access, and
                  driving distance data to address liability and estimate penalties and
                  damages.
                 Compensation audits.
                 Development and analysis of organizational diversity (DEI) metrics.
      Valuation

          Projects involving the valuation of complex financial instruments, closely held
           businesses, executive compensation packages, and compensatory loss in medical
           malpractice.

          Developed a process to estimate the economic value of park district assets as part
           of a pro bono consulting engagement with the Chicago Park District and the
           Office of the Mayor. The process includes geospatial analysis of GIS data and
           hedonic price modeling of housing prices.

          Conducted market concentration and impact analysis for a national health food
           chain as part of merger and acquisition (M&A) matter.

          Expertise includes:
               Black-Scholes, binomial trees, and Monte Carlo methods.
               Traditional valuation methods, including market-, asset-, and income-
                  based analysis.
               Entrepreneurial finance, including market valuation and resource
                  allocation for new companies.

      Securities Fraud and Market Manipulation

          Securities fraud class action and market manipulation matters.

          Expertise includes:
               Tests for market efficiency, loss causation, and price impact.
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                   Calculation of class-wide damages under 10(b)-5 and Section 11.
                   Financial and econometric modeling to analyze volatility and pricing
                    behavior for various securities in a wide range of markets, applying, for
                    example, market models, intraday event studies, GARCH models and
                    statistical tests for structural breaks.
                   Design and application of econometric and statistical models to detect
                    market manipulation such as cartel behavior, price-fixing, and bid-rigging
                    in various commodities markets and rate setting environments such as
                    LIBOR.

      Data Analytics and Coding

          Proficient in SAS, SQL, Stata, Python, and R coding languages and software.

          Extensive experience building, managing, and analyzing large and complex
           multi-dimensional databases on high profile, data-intensive projects, including
           the AMD v. Intel antitrust litigation.

          Extensive experience designing financial, statistical, and econometric models.


   COMMUNITY, AFFILIATIONS, AND AWARDS

      Board of Directors, Old Town School of Folk Music, 2019-Present
      Finance Committee Chair, Old Town School of Folk Music, 2021-Present
      Beta Gamma Sigma Academic Honor Society
      Kelley School of Business Director’s Advisory Board, 2004-2006
      Kelley School of Business Dean Selection Committee, 2004-2005
      NCAA Student Athletic Advisory Committee, 2003
      J. Dwight Peterson Key Award: awarded annually to the top business student, 2005
